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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION
 VOTING SYSTEMS, INC., and
 DOMINION VOTING SYSTEMS
 CORPORATION,
                                                      Civil Action No. 1:21-cv-00213-CJN
      Plaintiffs,

 v.

 RUDOLPH W. GIULIANI,

      Defendant,


      [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS
                   PLAINTIFFS’ ORIGINAL COMPLAINT

       On April 7, 2021, pursuant to FED. R. CIV. P. 12(b)(1), (6), and FED. R. CIV. P. 9(g),

Defendant Rudolph W. Giuliani filed his Motion to Dismiss [Doc. 26] Plaintiffs’ Original

Complaint [Doc. 1].

       After considering the Motion, response to the Motion, reply in support of the Motion, and

the entire record, the Court GRANTS the Motion [Doc. 26] and hereby ORDERS that the

Complaint [Doc. 1] is hereby DISMISSED WITH PREJUDICE as to refiling same.

       IT IS SO ORDERED.

       Date: ___________

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                                                UNITED STATES DISTRICT JUDGE




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